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MERRICK B. GARLAND                                                   FILED IN THE
                                                            UNITED STATES DISTRICT COURT
Attorney General of the United States                            DISTRICT OF HAWAII
                                                                Dec 9, 2021, 9:20 am
TRACY L. WILKISON                                           Michelle Rynne, Clerk of Court

United States Attorney
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Assistant United States Attorney
Chief, Criminal Division

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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA                )   CR. NO. 21-00140 JMS
                                        )
                   Plaintiff,           )
                                        )   NOTICE REGARDING
       vs.                              )   EARLIER CHARGES FILED
                                        )   AGAINST DEFENDANT
MONSANTO COMPANY,                       )
                                        )
                   Defendant.           )
                                        )
                                        )

NOTICE REGARDING EARLIER CHARGES FILED AGAINST DEFENDANT
    Case 1:21-cr-00140-JMS Document 3 Filed 12/09/21 Page 2 of 2        PageID #: 8




        The United States Attorney’s Office notifies the United States District Court

for the District of Hawaii that the United States Attorney’s Office is now filing or

has, within the last 14 days, filed an Information that names as a defendant

previously charged in a different Information filed in this Court.

NAME OF DEFENDANT: Monsanto Company

CASE NUMBER(S) IN WHICH DEFENDANT WAS PREVIOUSLY
CHARGED IN THIS DISTRICT: Cr. No. 19-00162 JMS

STATUS OF DEFENDANT (check as appropriate):

        Prior Case(s) Closed and No Supervision Ongoing
        Defendant Now Serving Custody Sentence in Prior Case(s)
X       Defendant on Supervised Release or Probation
X       Prior Case(s) Still Ongoing
        Other (please explain; e.g., Defendant now a fugitive)

        ______________________________________________________

        ______________________________________________________

        DATED: December 9, 2021, at Honolulu, Hawaii.

                                              TRACY L. WILKISON
                                              United States Attorney
                                              Central District of California

                                                   /s/ Erik M. Silber
                                              By___________________________
                                                MARK A. WILLIAMS
                                                DENNIS MITCHELL
                                                ERIK M. SILBER
                                                Special Attorneys




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